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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 JOHN A. PETTY,

      Plaintiff,

 v.                                                   Case No. 3:20-cv-01197-E

 FRONTIER COMMUNICATIONS
 CORPORATION,

      Defendant.

                          NOTICE OF VOLUNTARY DISMISSAL

         NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure 41(a),

Plaintiff, JOHN A. PETTY, voluntarily dismisses Defendant, FRONTIER COMMUNICATIONS

CORPORATION, without prejudice from this action with each party to bear its own attorney’s

fees and costs. This notice of voluntary dismissal is being filed with the Court before service by

Defendant of either an answer or a motion for summary judgment.

DATED: July 16, 2020                                        Respectfully submitted,

                                                            JOHN A. PETTY

                                                            By: /s/ Joseph S. Davidson

                                                            Mohammed O. Badwan
                                                            Joseph S. Davidson
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 16, 2020, I electronically filed the foregoing with the Clerk of
the Court for the United States District Court for the Northern District of Texas by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.

                                                              /s/ Joseph S. Davidson
